                        IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                STATESVILLE DIVISION
                              DOCKET NO.: 5:13CR53-RLV


UNITED STATES OF AMERICA                           )
                                                   )
      v.                                           )          ORDER
                                                   )
STEPHEN JAMES BLANKENSHIP,                         )
Defendant.                                         )


           Leave of the Court is hereby granted for the dismissal of the Bill of Indictment in the

 above-captioned case as to Defendant Stephen James Blankenship only, without prejudice.

           The Clerk is directed to forward copies of this Order to the United States Probation

 Office, the United States Marshal Service and the United States Attorney’s Office.

           SO ORDERED.




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